Case 3:20-cv-00051-ARS Document 1 Filed 03/31/20 Page 1of 8

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

UNITED STATES DISTRICT COURT

for the

District of North Dakota

Jason Robert Pederson

 

 

Plaintiffs)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write "see attachea" in the space and attach an additional
page with the full list of names.)

-Vy-

John Deere Electronic Solutions

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

Division

) Case No.

) (to be filled in by the Clerk’s Office)
)

)

Jury Trial: (check one) x] Yes [] No
)

)

)

)

)

)

)

)

)

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

Jason Pederson

 

3514 28" ave s apt 304

 

Fargo, Cass county

 

ND 58103

 

(612) 418-7663

 

katheryn.pederson@gmail.com

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if/known). Attach additional pages if needed.

Page 1 of 7
Case 3:20-cv-00051-ARS Document 1 Filed 03/31/20 Page 2 of 8
Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Defendant No. 1

 

 

 

 

 

Name John Deere Electronic Solutions
Job or Title (if known)

Street Address 1750 NDSU Research Park Drive
City and County Fargo, Cass County

State and Zip Code ND 58102

Telephone Number (701) 451 - 3600

 

E-mail Address (if known)

 

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

 

 

 

 

 

 

 

Defendant No. 3

Name

 

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

 

 

 

 

 

 

Defendant No. 4
Name
Job or Title Gf known)
Street Address
City and County
State and Zip Code
Telephone Number

 

 

 

 

 

 

E-mail Address (if known)

 

Page 2 of 7
Case 3:20-cv-00051-ARS Document 1 Filed 03/31/20 Page 3 of 8
Pro Se 7 (Rev, 12/16) Complaint for Employment Discrimination

Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

 

 

 

 

 

Name John Deere Electronic Solutions
Street Address 1441 44" Sts
City and County Fargo,Cass County
State and Zip Code ND 58102
Telephone Number (701) 277-6100
I. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

x] Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VI, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

] Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

C] Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

 

 

C] Other federal law (specify the federal law):
CJ Relevant state law (specify, if known):
CT] Relevant city or county law (specify, if known):

 

Page 3 of 7
Case 3:20-cv-00051-ARS Document 1 Filed 03/31/20 Page 4 of 8

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

i.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):
] Failure to hire me.
x Termination of my employment.
x Failure to promote me.
[| Failure to accommodate my disability.
LJ Unequal terms and conditions of my employment.
XI Retaliation.
C] Other acts (specify):

 

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)

12/05/2018 - 02/11/2019

 

 

 

 

 

 

C. I believe that defendant(s) (check one):
LJ is/are still committing these acts against me.
XI is/are not still committing these acts against me.
Dz. Defendant(s) discriminated against me based on my (check all that apply and explain):
C] race
[| color
x] gender/sex
C] religion
C] national origin
C] age (year of birth) (only when asserting a claim of age discrimination.)
| disability or perceived disability (specify disability)

 

E, The facts of my case are as follows. Attach additional pages if needed.

Page 4 of 7
Case 3:20-cv-00051-ARS Document 1 Filed 03/31/20 Page 5 of 8

Pro Se 7 (Rev. 12/16} Complaint for Employment Discrimination

 

HR had a history of harrasment on the basis of sex
I was informed by my supervisor I met all of the minimum requirements of the position.

The other internal candidate did not meet the minimum | year required experience, in addition they had
a worse attendance record and less time at the company.

HR refused to talk to be about them creating an unhealthy work enviroment unless I was willing to
delete a recording.

Reports were falsified against me and upon questioning they refused to provide specifics as to what they
claimed I had done. A supervisor informed me he believed it was because of the report with HR.

initial reason given for termination: In the future my supervisor could give me a task I would be unable
to do due to discrimination and retaliation.

2nd reason for termination given at a later date: refusal to work/ insubordination.
They have refused to give any details about what I supposedly refused to do.
HR denied the required information to take part in their appeal proccess for termination.

No investigation or other form of resolution was ever completed in regards to the reported
discrimination.

The defendant had a point based attendance policy.

 

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

A.

It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
On (date)

02/21/2019

 

The Equal Employment Opportunity Commission (check one):

[] has not issued a Notice of Right to Sue letter.
x] issued a Notice of Right to Sue letter, which I received on (date) January 2", 2020 .

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

Page 5 of 7
Case 3:20-cv-00051-ARS Document 1 Filed 03/31/20 Page 6 of 8

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

Cc 60 days or more have elapsed.
LI less than 60 days have elapsed.

Vv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

I am seeking $107,000 United States dollars for a estimated lost income and benefits caused by the discrimination
and retaliation.

 

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: Z3 O

Signature of Plaintiff A LZ Z\

 

Printed Name of Plaintiff 0 aston fe d ergon

 

B. For Attorneys

Page 6 of 7
Case 3:20-cv-00051-ARS Document 1 Filed 03/31/20 Page 7 of 8

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

 

Date of signing:

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

Street Address

 

 

State and Zip Code

 

Telephone Number
E-mail Address

 

 

Page 7 of 7
Case 3:20-cv-00051-ARS Document 1 Filed 03/31/20 Page 8 of 8

EEOC Form 164 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

To: Katheryn Pederson From: Minneapolis Area Office
3514 28th Avenue S, Apt. 304 Equal Employment Opportunity
Fargo, ND 58103 Commission

330 S 2nd Avenue, Suite 720
Minneapolis, MN 55401

 

[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601. 7(a))
EEOC Charge No. EEOC Representative Telephone No.

Charlotte Czarnecki,
444-2019-00409 investigator (612) 552-7307

THE EEOC |S CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge-fail to-state a claim under any of the.statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Other (briefly state)

OO &BOUUU

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible. -

On behalf of the Commission

Sean . a, A02O

Enclosures(s) (Date Mailed)

 

District Director

se: John Deere Electronic Solutions

c/o Brent D. Kettelkamp, Associate

Ogletree, Deakins, Nash, Smoak & Stewart, P.C
225 S. 6th St., Suite 225 ,
Minneapolis, MN 55402
